Case 19-23184 Doci Filed 10/01/19 Pagelof5

    

Fill in this information to identify the case:

| United States Bankruptcy Court for the:

Southern District of Florida

| Case number uf known)

Official Form 401

Chapter 15 Petition for Recognition of a Foreign Proceeding

Chapter 15 (J Check if this is an

amended filing

12118

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).

1. Debtor’s name

2. Debtor's unique identifier

Minuano Comunicagdes e Pradugdes Editorias Ltda., Diario de Sdc Paulo Comunicagoes Ltda.
Editora Fontana Ltda., and Cereja Servicos de Midia Digital Ltda.

 

 

For non-individual debtors:

(Federal Employer Identification Number (EIN) oo

MM otner Brazilian EIN / CNPJ _ Describe identifier See attached sheet

For individual debtors:

{J Social Security number. xxx - xx

Gl Individual Taxpayer Identification number (ITIN}: 9 xx — xx -

other _ Desenbe identifier

 

 

3. Name of foreign
representative(s)

Joice Ruiz Bernier, AJ Consultoria Empresarial Ltda.

 

 

4. Foreign proceeding in which
appointment of the foreign
representative(s) occurred

5. Nature of the foreign
proceeding

6. Evidence of the foreign
proceeding

7. ts this the only foreign
proceeding with respect to
the debtor known to the
foreign representative(s)?

Official Form 4014

State of Sdo Paulo, Brazil

Check one:

Foreign main proceeding
Foreign nonmain proceeding
Foreign main proceeding. or in the alternative foreign nonmain proceeding

A cettified copy, translated into English. of the decision commencing the foreign proceeding and
appointing the foreign representative is attached.

A certificate, translated into English, from the foreign court, affirming the existence of the foreign
proceeding and of the appointment of the foreign representative, is attached.

oo 8 OOB&

Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
representative is described below, and relevant documentation, translated into English, is attached.

 

 

oO :

No. (Attach a statement identifying each country in which a foreign proceeding by. regarding, or against the
debtor is pending.)

W@W yes

Chapter 15 Petition for Recegnition of a Foreign Proceeding page 1
Case 19-23184 Doci Filed 10/01/19 Page2of5

Debtor

 

Name

8. Others entitled to notice

s. Addresses

10. Debtor's website (URL)

11. Type of debtor

Official Form 401

Attach a list containing the names and addresses of:

Case number it ances,

() all persons or bodies authorized to administer foreign proceedings of the deotor,

(li) all parties to litigation pending in the United States in which the debtor is a party at the ime of filing of this

petition, and

(iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.

Country where the debtor has the center of its
main interests:

Brazil

Individual debtor's habitual residence:

Number Street

Debtor's registered office:

1011 Avenida Marqués de Sao Vicente
Number —- Street .

ZIP: 01139-003

 

 

 

FO. Box

Sao Paulo SP

City State/Province/Region —ZiP/Postal Code
Brazil

Country

Address of foreign representative(s):

Rua Lincoin Albuquerque, 259. CJ. 131

Number Streat

 

 

 

 

P.O. Box P.O. Box
Perdizes, So Paulo SP

City State/Province/Region Z!P/Posta! Code City State/Pravince/Region ZIP/Postal Code
Brazil ZIP: 01139-003

Country Country

Check one:

wi Non-individual (check one):

wi Corporation. Attach a corporate ownership statement containing the information

described in Fed. R. Bankr. P_ 7007.1
QO Partnership
C) Other. Specify:

 

Q individual

Chapter 15 Petition for Recognition of a Foreign Proceeding page 2
Case 19-23184 Doci Filed 10/01/19 Page 3of5

Debtor

 

Natta

12, Why is venue proper in this
district?

13. Signature of foreign
representative(s}

14, Signature of attorney

Official Form 401

Check one

wi
Q

Case Number iz xeswey

 

Debtor's principal place of business or principal assets in the United States are in this district.

Debtor does not have a place of business or assets in the United States. but the following
action or proceeding in a federal or state court is pending against the debtor in this district:

 

If neither box is checked, venue is consistent with the interests of justice and the convenience
of the parties, having regard to the relief sought by the foreign representative, because

 

| request relief in accordance with chapter 15 of tite 11, United States Code.

jam the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
relief sought in this petition, and | am authorized to file this petition.

| have examined the information in this petition and have a reasonable belief that the

information is true and Sprrect .

id

   

eclare under penalty of perjury t

   
  

 
 

t the’foregoing is true and correée;

 

   

x

 

WU, Joice Ruiz Bernier
Signature j foreign oeerat Printed name
Executed on Le 4
MM APOD:
Signature of foreign representative Printed name

Executed on

MM /OD7 YYYY

X Arnoldo B. Lacayo Qy fa
e

Signature of Attorney for foreign representative

Arnoldo B. Lacayo
Printed name

Sequor Law, P.A.

Firm name

1001 Brickell Bay Drive

Number Street
Miami
City

(305) 372-8282

Contact phone

675482

Bar number

Chapter 15 Pettion for Recognition of a Foreign Proceeding

TO/ ol (2019

MM /DD/YYYY

Date

Fi. 33131
State ZiP Code

alacayo@sequorlaw,com
Email address

FL

State

 

page 3
Case 19-23184 Doci Filed 10/01/19 Page4of5

      
 
   

o> 19 ° ‘CAR TORI Oo Suara! eds Plaza
: . fk ignada
nN Oficial de Registro Chil das Pessoas Naturais Rua Monte Alegre. 342 - Perdizus - SSo Paulo - SP
; 19? Subdistrito - Perdires - Sia Paulo - SP Fone: {t DES 7153} 3875-8556

 

Reconhega, par autenticidade, a flrea zat] JER, con forag ¢. -
assinatira aposts ea einha presenga{ Regist #0 :
2, sob 2 2

    
    
 

  

ao Paulo, 26 ae

ce te esieatnhas :
: z Alo PAA sso) a
» le, Be ; Total Re mee

     

 
Case 19-23184 Doci Filed 10/01/19 Page5of5

DEBTORS’ UNIQUE INDENTIFIERS

(Attachment to Official Form 401 — Chapter 15 Petition for Recognition of Foreign Proceeding)

Debtor Name

Minuano Comunicagées e Produgées Editorias Ltda.
Diario de SAo0 Paulo Comunicagées Ltda.

Editora Fontana Ltda.

Cereja Servicos de Midia Digital Ltda.

Brazilian EIN/CNPJ

06.176.979/0001-30
07.602.781/0001-33
08.193.045/0001-31
10.189.293/0001-50
